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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF FLORIDA
                          GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,

v.                                                CASE NO.: 1:04-CR-010-SPM

MARCIA THURMAN,

           Defendants.
______________________________/

              ORDER SETTING VOLUNTARY SURRENDER DATE

       On September 11, 2007, this Court held a revocation hearing to determine

whether Defendant Thurman had violated her probation by being charged with a

law violation for a violent altercation with a friend. At this hearing, the Court

found her guilty of violating her probation. However, the Court reserved ruling on

the sentence to be imposed. Also at this hearing, it was brought to the Court’s

attention that the Defendant was pregnant and was due to give birth on

November 6, 2007.

       On October 11, the Defendant appeared before this Court to receive her

sentence. On that date, this Court sentenced her to six months imprisonment,

and set a date for the Defendant to voluntary surrender on November 20. On

October 29, in response to a letter from the Defendant and her family social

worker, this Court held a status conference and heard testimony from workers of

the Healthy Families program at Shands hospital regarding their

recommendation for the Defendant’s voluntary surrender. These two women

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offered testimony about the benefits of breast-feeding for children and about the

recommended time of bonding between mother and child. They also testified

about the Defendant’s past breast-feeding practice with her other three children.

At this hearing, the Defendant requested a voluntary surrender date of May 1,

2008, in order to provide ample time for bonding and breast-feeding. The

Defendant testified that the three children that she has given birth to, were breast

fed for a period of five to seven months. The Court considered all the testimony

offered at this hearing and has now made a decision regarding the date for

voluntary surrender.

       The Court recognizes the importance of ensuring that the Defendant fully

recovers from childbirth. The Court also understands the value of breast-feeding

to newborns, especially if the mother does not believe in immunizations, as is the

case here. The Court also has an interest in ensuring the health and welfare of

the Defendant’s new child. However, the Court is also aware of the seriousness

of the Defendant’s current probation violation and the Defendant’s history of

anger management issues. The Court is also aware of the difficulty that the

Probation Office has had with the Defendant’s responsiveness to their

supervision. Furthermore, a delayed commencement of the sentence will

weaken the connection between the wrongdoing and the punishment. It will also

likely diminish the punitive aspect of the sentence.

       Therefore, after careful consideration, the Court has decided to allow the

Defendant seven weeks to breast feed and bond with her newborn baby after

childbirth. Accordingly, it is ORDERED AND ADJUDGED as follows:

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     1.   The Defendant is ordered to surrender to the United States

          Marshal in Gainesville, Florida at 12:00 o'clock noon on

          Thursday, December 27, 2007. In the event a place of

          confinement is designated by the United States Bureau of Prisons

          prior to the date scheduled for surrender to the United States

          Marshal, the Defendant may voluntarily surrender at her own

          expense at the institution designated no later than 12:00 o'clock

          noon on Thursday, December 27, 2007.

     2.   The Defendant’s failure to abide by any of the conditions of release

          or failure to surrender to the Untied States Marshal or the

          institution, if designated, at the date set, will constitute a violation of

          the conditions of release, subject the bond to forfeiture, and subject

          the Defendant to prosecution for violation of Title 18, United States

          Code, Sections 3146 (failure to appear), 3147 (offense committed

          while on release), and 3148 (sanctions for violation of release

          conditions). The bond is continued until the executed return of

          judgment is filed with the court, at which time the bond is

          exonerated.

     DONE AND ORDERED this fifth day of November, 2007.




                                   s/ Stephan P. Mickle
                                Stephan P. Mickle
                                United States District Judge


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